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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

IN THE MATTER OF:

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)
MICHAEL A. HANcocK and )
MICHELLE L. HANcoCK, ) CHAPTER 7 cAsE No.=
) 18-41804-EJC
DEBToRs. )

TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE AGENT/BROKER

TO: THE HONORABLE EDWARD J. C()LEMAN, III, JUDGE, UNITED STATES
BANKRUPTCY COURT

Wendy A. Owens, Trustee (Petitioner”), shows the Court the following:

Petitioner is the duly qualified and acting trustee of the estate of the above-named debtor.

Assets of this case consists of one real properties located in Liberty County, Georgia.

In order to market the real property most effectively and, thereby, to liquidate the same for the best
and highest price, petitioner has solicited the assistance of Penny Rafferty of Penny Rafferty Realty,
Inc. located at 2126 E. Victory Drive, Savannah, Georgia 31404, a licensed real estate agent/broker,
who has, on your petitioner’s behalf, examined said real property and agreed to advertise said
property at her expense, to show said property to interested parties, to represent the estate as seller
in connection with the sale of the property, and to advise your petitioner with respect to obtaining
the highest and best offers available in the present market for said property,

Based on the foregoing, your applicant desires to employ Penny Rafferty as a real estate
agent/broker to procure and submit to petitioner offers to purchase the real property, In
consideration for said services, Penny Rafferty will receive as commission, upon consummation of
the any such sale, a real estate commission in an amount equal to SIX PERCENT (6.0%) of the
purchase price.

The real estate agent/broker Whom petitioner proposes to employ has been informed and
understands that no sale can be consummated until after notice and a hearing

Petitioner is informed and believes and, therefore, alleges the employment of Penny Rafferty on the
terms and conditions provided for herein, is in the best interest of the estate.

Petitioner is satisfied that the Declaration from Penny Rafferty that she is a disinterested person
within the meaning of ll U.S.C. Section lOl.

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Said real estate agent/broker is aware of the provisions of ll U.S.C. Section 328(a) and has agreed,
notwithstanding the terms and conditions of employment herein set forth, that the Court may allow
compensation different from the compensation provided herein if such terms and conditions prove
to have been improvident in light of developments unanticipated at the time of the fixing of such

terms and conditions.

WHEREFORE, Petitioner requests authorization to employ Penny Rafferty of Penny
Rafferty Realty, as real estate agent/broker on the terms and conditions set forth herein.

Dated this the 31st day of January, 2019.

/s/ Wendy A. Owens
WENDY A. OWENS, Trustee/Petitioner

Wendy A. Owens
GA BAR No. 557809
Chapter 7 Trustee

PO Box 8846
Savannah, GA 31412

trustee@coastalempirelaw.com

a)
b)

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

SAVANNAH DIVISION
IN THE MATTER OF: )
)
MICHAEL A. HANCOCK and )
MICHELLE L. HANCOCK, ) CHAPTER 7 CASE NO.:
) 18-41804-EJC
DEBTORS. )

AFFIDAVIT OF REAL ESTATE PROFESSIONAL PURSUANT TO RULE 2014

 

Before the undersigned Notary Public came and appeared Penny Rafferty who under oath,
deposes and says as follows:

I am a real estate professional with the real estate office of Penny Rafferty Realty located at 2126
E. Victory Drive, Savannah, Georgia 31404.

I am duly licensed to sell real estate in the state of Georgia.

I submit this Affrdavit in support of the Application to Employ a Real Estate Professional to
represent the Trustee in her official capacity in the instant bankruptcy case.

I am familiar with the Trustee’s Application and the property described therein, and believe that I
am qualified to represent the Trustee and the estate in connection with the marketing of said property. I have
agreed to accept employment on the terms and conditions set forth in the Trustee’s Application.

I have the stated connection to the individuals, entities and parties listed below:

a) The Debtor: None
b) The Debtor’s Counsel: None
c) Creditors of the Debtor: None
d) The U.S. Trustee: None
e) Persons Employed by the U.S. Trustee’s Office: None
t) The Chapter 7 Trustee: None

To the best of my knowledge, information and belief, neither my office nor any member thereof:

Holds any interest adverse to the within estate in the matters upon which it is to be engaged;
Has any business interest in Debtor;
Have a pre-petition or other claim against the bankruptcy estate.

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I declare under the penalty of perjury that the forgoing is true and corre(ct.

 

Penny Rafferty l) v

Penny Rafferty Realty

Swom to and subscribed before me
This 30th day of January 2019

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Case:lS-

  

Notary Public

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

IN THE MATTER OF:

MICHELLE L. HANCOCK, CHAPTER 7 CASE NO.:

)

)

MICHAEL A. HANCOCK and )

)

) 18-41804-EJC
)

DEBTORS.

CERTIFICATE OF SERVICE

This is to certify that I have this date served the foregoing, APPLICATION OF TRUSTEE
TO EMPLOY REAL ESTATE AGENT/BROKER, through CM/ECF or by depositing same in the
United States Mail with sufficient postage affixed thereon, to those addressed below:

Barbara B. Braziel Matthew E. Mills

6555 Abercorn Street, Suite 105 Assistant U.S. Trustee

Savannah, GA 31405 Office of the U.S. Trustee
Johnson Square Business Center

Michael A. Hancock 2 East Bryan Street, Ste. 725

60 Evergreen Oak Drive Savannah, GA 31401

Richmond Hill, GA 31324

Michelle L. Hancock
60 Evergreen Oak Drive
Savannah, Georgia 31324

This the 3 lst day ofJanuary, 2019

/s/ Wendy A. Owens
WENDY A. OWENS, Trustee/Petitioner
Prepared by:
Wendy A. Owens, Esq.
GA BAR No. 557809
Chapter 7 Trustee
P.O. Box 8846
Savannah, GA 31412
912-239-9888
trustee@coastalempirelaw.com

